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 3
                                   UNITED STATES DISTRICT COURT
 4
                                         DISTRICT OF NEVADA
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 6
     UNITED STATES OF AMERICA,         )
 7                                     )
               Plaintiff,              )
 8                                     )
   vs.                                 )                   2:11-cr-048-JCM (CWH)
 9                                     )
   JESUS BURGOS, et al.,               )
10                                     )
               Defendant.              )                   ORDER
11 ____________________________________)
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            Presently before the court is Jason F. Carr’s motion to withdraw as counsel for defendant
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     Jesus Guadalupe Felix-Burgos. (Doc. #243). Mr. Carr further moves for appointment of new
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     counsel for defendant. (Doc. #243).
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            Defendant made his initial appearance on March 3, 2011. (Doc. #51). At that time, the
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     federal public defenders office was appointed as defense counsel. (Doc. #51). Mr. Carr was assigned
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     to this case on March 8, 2011. (Doc. #52).
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            Defendant appeared before the court on February 7, 2012, and pleaded guilty to count one of
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     the criminal indictment, which charged defendant with conspiracy to distribute a controlled substance
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     in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A)(viii). (Doc. #175). Defendant came before
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     the court for sentencing on May 29, 2012, and was sentenced to 135 months custody to be followed
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     by 5 years of supervised release. (Doc. #236). The judgment of conviction was entered on June 5,
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     2012. (Doc. #238).
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            Now, defendant has indicated his desire to appeal his sentence in this case. (Doc. #243). The
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     motion to withdraw as counsel asserts that Mr. Carr participated in the negotiation of the waiver of
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     appeal and advised defendant to accept the plea agreement. (Doc. #243). Mr. Carr further alleges
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     that challenging that advice may be the only viable strategy for attempting to circumvent the waiver.
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 1 Thus, Mr. Carr argues that it would create a conflict for Mr. Carr or the federal public defenders
 2 office to represent defendant on his appeal. (Doc. #243). Accordingly, Mr. Carr moves to be relieved
 3 of counsel and for appointment of new counsel. (Doc. #36).
 4         Pursuant to 18 U.S.C. § 3006A, indigent defendants are to be represented by counsel on
 5 appeal. Here, Magistrate Judge Leavitt appointed the federal public defenders office to represent
 6 defendant at the trial level. There is no indication that defendant’s financial status has changed
 7 during the interim period.
 8         Good cause appearing,
 9         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Jason F. Carr’s motion to
10 withdraw as counsel for defendant Jesus Guadalupe Felix-Burgos (doc. #243) be, and the same
11 hereby is, GRANTED.
12         IT IS FURTHER ORDERED that defendant be appointed new counsel for his appeal from
13 the CJA panel.
14         DATED June 25, 2012.
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16                                                      _____________________________________
                                                        UNITED STATES DISTRICT JUDGE
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